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Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                              §
    In re:
                                                              §   Chapter 11
                                                              §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,1                           Case No. 19-34054-sgj11
                                                              §
                                                              §
                                  Debtor.
                                                              §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,                        §
                                                              §
                                  Plaintiff,                  §   Adversary Proceeding No.
                                                              §
    vs.                                                       §   21-03004
                                                              §
    HIGHLAND CAPITAL MANAGEMENT FUND                          §
    ADVISORS, L.P.                                            §
                                                              §
                                  Defendant.


1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

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                PLAINTIFF’S NOTICE OF RULE 30(B)(6) DEPOSITION
            TO HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.

         PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure, made applicable herein pursuant to Rules 7030 and 9014 of the Federal Rules of

Bankruptcy Procedure, Highland Capital Management, L.P., the plaintiff in the above-referenced

adversary proceeding in the above-captioned chapter 11 case, shall take the deposition of

Highland Capital Management Fund Advisors, L.P. (“HCMFA”) by the person(s) most qualified

to testify on HCFA’s behalf with respect to the topics described in Exhibit A attached hereto on

October 20, 2021, commencing at 9:30 a.m. Central Time or at such other day and time as the

Plaintiff may agree in writing. The deposition will be taken under oath before a notary public or

other person authorized by law to administer oaths and will be visually recorded by video or

otherwise.

         The deposition will be taken remotely via an online platform due to the coronavirus

pandemic such that no one will need to be in the same location as anyone else in order to

participate in the deposition and by use of Interactive Realtime. Parties who wish to participate




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in the deposition should contact John A. Morris, Pachulski Stang Ziehl & Jones LLP, at

jmorris@pszjlaw.com no fewer than 72 hours before the start of the deposition for more

information regarding participating in this deposition remotely.



 Dated: October 4, 2021.                  PACHULSKI STANG ZIEHL & JONES LLP

                                          /s/ John A. Morris
                                          Jeffrey N. Pomerantz (CA Bar No.143717)
                                          Ira D. Kharasch (CA Bar No. 109084)
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                                              EXHIBIT A

                                             DEFINITIONS

                 1.         “Amended Answer” means Defendant’s Amended Answer lodged in the

above-referenced adversary proceeding at Docket No. 48.

                 2.         “Communications” means the transmittal of information (in the form of

facts, ideas, inquiries, or otherwise) and includes all oral and written communications of any

nature, type or kind including, but not limited to, any ESI (and any attachments thereto),

Documents, telephone conversations, text messages, discussions, meetings, facsimiles, e-mails,

pagers, memoranda, and any other medium through which any information is conveyed or

transmitted.

                 3.         “Concerning” means and includes relating to, constituting, defining,

evidencing, mentioning, containing, describing, discussing, embodying, reflecting, edifying,

analyzing, stating, referring to, dealing with, or in any way pertaining to the subject matter.

                 4.         “Discovery Requests” means (i) the Debtor’s First Requests for Admission

Directed to Highland Capital Management Fund Advisors, L.P., (ii) the Debtor’s First Request

for Production of Documents Directed to Highland Capital Management Fund Advisors, L.P.,

and (iii) the Debtor’s First Interrogatories Directed to Highland Capital Management Fund

Advisors, L.P.

                 5.         “Document” means and includes all written, recorded, transcribed or

graphic matter of every nature, type and kind, however and by whoever produced, reproduced,

disseminated or made. This includes, but is not limited to, Communications, ESI, “writings” as

defined by Rule 1001 of the Federal Rules of Evidence, copies or drafts, and any tangible or

intangible thing or item that contains any information. Any Document that contains any comment,




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notation, addition, insertion or marking of any type or kind which is not part of another Document,

is to be considered a separate Document.

                 6.         “Exhibits” refers to each of the documents identified as Exhibits 28-66 on

Debtor’s Amended Witness and Exhibit List with respect to Hearing to be Held on May 25, 2021

lodged in the above-referenced adversary proceeding at Docket No. 35.

                 7.         “Motion to Amend” means Defendant’s Motion for Leave to Amend

Answer lodged in the above-referenced adversary proceeding at Docket No. 32.

                 8.         “Notes” shall have the meaning ascribed to that term in paragraph 15 of the

Complaint for (I) Breach of Contract and (II) Turnover of Property of the Debtor’s Estate lodged

in the above-referenced adversary proceeding at Docket No. 1.

                 9.         “Original Answer” means Defendant’s Original Answer lodged in the

above-referenced adversary proceeding at Docket No. 6.

                 10.        “Sauter Declaration” means the Declaration of Dennis C. Sauter, Jr.

lodged in the above-referenced adversary proceeding at Docket No. 32-1.

                 11.        “You” or “Your” means Highland Capital Management Fund Advisors,

L.P., and anyone authorized to act on its behalf.

                                               Rule 30(b)6) Topics

Topic No. 1:

         Your Original Answer.

Topic No. 2:

        Your Amended Answer

Topic No. 3:




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         Each Affirmative Defense asserted in Your Amended Answer, including but not limited

to all facts and circumstances, Communications, and Documents Concerning each Affirmative

Defense. See Answer ¶¶ 38-47.

Topic No. 4:

        The Notes, including but not limited to (a) the negotiation of the Notes, (b) the terms of

the Notes, (c) Communications Concerning the Notes, (d) any payments of principal or interest

made by You or on Your behalf with respect to the Notes; (e) the use of the proceeds of the Notes,

(f) Your communications with Your outside auditors Concerning the Notes and the obligations

thereunder; and (g) any agreements Concerning the Notes.

Topic No. 5:

        The Exhibits.

Topic No. 6:

        The Motion to Amend.

Topic No. 7:

        The Sauter Declaration.

Topic No. 8:

         Your responses to the Discovery Requests.




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